     Case 5:04-cr-40141-JTM    Document 204       Filed 08/16/05   Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )         CRIMINAL ACTION
                                              )
v.                                            )         No.   04-40141-01, 02
                                              )
ARLAN DEAN KAUFMAN and                        )
LINDA JOYCE KAUFMAN,                          )
                                              )
                          Defendants.         )
                                              )


                               MEMORANDUM AND ORDER
       Before the court are the following:

       1.    Defendants’ joint motion for bill of
             particulars (Docs. 125 and 126);
       2.    Government’s response (Doc. 158); and

       3.    Defendants’ joint reply (Doc. 175).
       The   standards        pertaining     to     a    request    for    a     bill    of

particulars are well known.            United States v. Cooper, 283 F. Supp.

2d 1215, 1238-40 (D. Kan. 2003).              Unless the request shows, on its
face, that failure to grant the request would result in prejudicial
surprise, the preclusion of an opportunity for meaningful defense
preparation, [or double jeopardy problems,] defendant has                               the
burden of showing [by brief, affidavit or otherwise] that his or

her    request    meets   one     of   the    three      criteria.        Id.    at    1239
(quotation and case citation omitted).
       Defendants’ joint motion does not even attempt to meet these
criteria.      Rather, it is drafted in the form of a set of civil
interrogatories        without     any       explanation        regarding        why    the

information is needed.           Defendants have filed numerous motions of
  Case 5:04-cr-40141-JTM        Document 204    Filed 08/16/05   Page 2 of 2




every type and description totaling hundreds of pages.                             It is
readily apparent from reading the motions that defendants either

have   received     or    have    had   the    opportunity       to   review   a    very
substantial amount of evidentiary material and are mounting a
rigorous defense to the charges.                   The court would abuse its
discretion if it granted all or any portion of defendants’ motion.
       Defendants’ motion for bill of particulars (Doc. 125) is

denied.
       IT IS SO ORDERED.

       Dated this        16th      day of August 2005, at Wichita, Kansas.


                                               s/ Monti Belot
                                               Monti L. Belot
                                               UNITED STATES DISTRICT JUDGE




                                         -2-
